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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                             CASE NO. 1:88-cr-01026-MP-AK

CHARLES L DAVIS,

      Defendant.
___________________________/

                                           ORDER

       This matter is before the Court on Doc. 3426, Mr. Davis' motion for reconsideration. In

the motion, Mr. Davis moves the Court to reconsider the denial of his motions for downward

departure and/or variance from the U.S. Sentencing Guidelines computation pursuant to United

States v. Booker, 543 U.S. 220, 125 S. Ct. 738 (2005), and further requests that in reconsidering

the denial of these motions the Court craft a sentence for Mr. Davis proportionate to the terms of

imprisonment received by other co-defendants. Having reviewed the motion, the Court

determines that the matters raised now are essentially the same that were raised, considered, and

denied, at time of the sentencing. Accordingly, the motion is denied.


       DONE AND ORDERED this 8th day of December, 2006


                                      s/Maurice M. Paul
                                 Maurice M. Paul, Senior District Judge
